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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Yakult U.S.A. Inc.
                                         Plaintiff(s),

                                                                            22               1826         PKC
                                                                                      Civ.            (     )
                         - against -
                                                                           CLERK'S CERTIFICATE
R. R. Importaciones Inc.                                                       OF DEFAULT

                                       Defendant(s),
-------------------------------------------------------------X

                       I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
March 3, 2022
                           with the filing of a summons and complaint, a copy of the summons and
                                                         R. R. Importaciones Inc.
complaint was served on defendant(s)
                                Maria Suarez on March 7, 2022
by personally serving                                                                                           ,
                                                             March 17, 2022                       9
and proof of service was therefore filed on                                         , Doc. #(s)                 .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

                    April 13   , 20 22                                     RUBY J. KRAJICK
                                                                             Clerk of Court


                                                                    By: _________________________
                                                                             Deputy Clerk




SDN Y W eb 3/2015
